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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Maria R. Martinez
                                      Plaintiff,
v.                                                     Case No.: 1:18−cv−04334
                                                       Honorable Charles R. Norgle Sr.
Caliber Home Loans, Inc., et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 26, 2018:


        MINUTE entry before the Honorable Charles R. Norgle: Motion for extension of
time to answer [11] is granted. Motion for extension of time [14] is granted. The parties
are not required to appear before the court on Friday, July 27, 2018. A status hearing is set
for 8/22/2018 at 10:00 a.m. Mailed notice (ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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